       Case
       Case 2:20-cv-00749-GMN-NJK
            2:20-cv-00376-JAD-NJK Document
                                  Document 61
                                           28 Filed
                                              Filed 04/29/20
                                                    07/31/20 Page
                                                             Page 11 of
                                                                     of 99



 1

 2
     COUNSEL BLOCK
 3

 4

 5

 6
                                   UNITED STATES DISTRICT COURT
 7

 8                                         DISTRICT OF NEVADA

 9
        IN RE: MGM RESORTS INTERNATIONAL                          Master File No. 2:20-cv-00376- JAD-NJK
10      DATA BREACH LITIGATION
11

12
        This Document Relates To: All Cases
13

14                                            ORDER GRANTING
      STIPULATION FOR EXTENSION OF TIME TO FILE CONSOLIDATED COMPLAINT
15
                  AND TO SET SCHEDULE FOR RULE 23(g) MOTIONS
16                               (First Request)

17          Pursuant to LR IA 6-1, Plaintiffs in the above-captioned Consolidated Action and Defendant
18   MGM Resorts International (“MGM” or “Defendant”), (collectively, the “Parties”), by and through
19   their counsel of record, stipulate to an extension of time for Plaintiffs to file a Consolidated Complaint
20   and to a schedule for counsel for Plaintiffs to file motions for leadership pursuant to Rule 23(g),
21   Federal Rule of Civil Procedure. This is the first request made to extend the deadline for filing a
22   consolidated complaint. In support of this Stipulation, the Parties show as follows:
23          On March 30, 2020, the Court entered its Order granting the Parties’ Stipulation to Consolidate
24   Actions and Set Scheduling Deadlines. (ECF No. 22.) The Order set a deadline for the filing of
25   Plaintiffs’ Consolidated Complaint for thirty (30) days after entry of the Order, which yielded a
26   deadline of April 29, 2020.
27

28
                                                                 STIPULATION FOR EXTENSION OF TIME TO
                                                                        FILE CONSOLIDATED COMPLAINT
                                                  1                                   (FIRST REQUEST)
       Case
       Case 2:20-cv-00749-GMN-NJK
            2:20-cv-00376-JAD-NJK Document
                                  Document 61
                                           28 Filed
                                              Filed 04/29/20
                                                    07/31/20 Page
                                                             Page 22 of
                                                                     of 99



 1          When the Parties entered into the Stipulation, the Plaintiffs had been collaborating and believed

 2   they could self-organize a leadership structure for the litigation. Unfortunately, despite working

 3   together and reaching consensus on many issues, the Plaintiffs have been unable to reach an agreement

 4   on a leadership structure. While taking no position on the appointment of interim lead counsel, the

 5   Defendant agrees that interim lead counsel should be appointed for purposes of filing a consolidated

 6   complaint and efficiently coordinating and conducting pretrial proceedings in this matter.

 7          Accordingly, the Parties propose, subject to Court approval, the following initial deadlines:

 8                  Any attorney who has filed an action in this litigation may file an application for
 9                  appointment as interim class counsel or other designated counsel either individually or
10                  as part of a proposed leadership structure. All applications must be e-filed in the Master
11                  File No. 2:20-cv-00376-JAD-NJK, no later than 5 p.m. Pacific Time on May 1, 2020.

12                  No responses shall be filed. The Court may hold a hearing on the applications or appoint

13                  interim counsel or other designated counsel based on timely written submissions only;

14                  Plaintiffs shall file a Consolidated Complaint no later than sixty (60) days following
15                  the entry of an order appointing interim class counsel or other designated counsel;

16                  Given the complexity of the issues, including Plaintiffs’ stated desire to assert claims
17                  under the laws of multiple states, the parties agree to the following briefing schedule

18                  and expanded page limitations with respect to MGM’s response to the Consolidated

19                  Complaint:
20                     o Any response to the Consolidated Complaint shall be due within sixty (60) days
21                         from the filing of the Consolidated Complaint and shall be limited to fifty (50)
22                         pages
23                     o Any opposition thereto will be due within sixty (60) days of the filing of such
24                         response(s) and shall be limited to fifty (50) pages
25                     o Any reply brief will be due within forty-five (45) days of the filing of any
26                         opposition and shall be limited to twenty-five (25) pages

27

28
                                                                STIPULATION FOR EXTENSION OF TIME TO
                                                                       FILE CONSOLIDATED COMPLAINT
                                                 2                                   (FIRST REQUEST)
       Case
       Case 2:20-cv-00749-GMN-NJK
            2:20-cv-00376-JAD-NJK Document
                                  Document 61
                                           28 Filed
                                              Filed 04/29/20
                                                    07/31/20 Page
                                                             Page 33 of
                                                                     of 99



 1                 Plaintiffs agree that by entering into this stipulation or acting in conformance with its
 2                 terms, MGM has not waived or acted in any way inconsistent with any right, remedy

 3                 or defense.

 4                                                                     ** ORDER **
 5             IT IS SO STIPULATED.                   Based on the parties' stipulation [51] and good
 6                                                    cause appearing, IT IS SO ORDERED
                                                                     _________________________________
 7
     Dated: April 28, 2020                                           U.S. District Judge Jennifer A. Dorsey
 8                                                                   Dated: April 30, 2020, nunc pro tunc to
                                                                     April 29, 2020.
 9    Counsel for Defendant MGM                     Counsel for Plaintiffs
10     s/ Todd L. Bice                              s/ Miles N. Clark
      Todd L. Bice, Esq., Bar No. 4534              KNEPPER & CLARK LLC
11
      TLB@pisanellibice.com                         Miles N. Clark
12    Robert A. Ryan, Bar No. 12084                 Matthew Knepper
      RR@pisanellibice.com                          5510 S. Fort Apache Rd, Suite 30
13    PISANELLI BICE PLLC                           Las Vegas, NV 89148-7700
      400 South 7th Street, Suite 300               Telephone: (702) 856-7430
14    Las Vegas, NV 89101                           Facsimile: (702)447.8048
15    Telephone: 702.214.2100                       Miles.Clark@knepperclark.com
                                                    Matthew.Knepper@knepperclark.com
16
                                                    MORGAN & MORGAN COMPLEX
17                                                  LITGATION GROUP
                                                    John A. Yanchunis (pro hac vice)
18                                                  Jean S. Martin (pro hac vice)
19                                                  Marcio Valladares (pro hac vice)
                                                    201 N. Franklin Street, 7th Floor
20                                                  Tampa, FL 33602
                                                    Telephone: (813) 223-5505
21                                                  Facsimile: (813) 223-5402
                                                    jyanchunis@forthepeople.com
22
                                                    jeanmartin@forthepeople.com
23                                                  mvalladares@forthepeople.com

24                                                   LAW OFFICE OF PAUL C. WHALEN, P.C.
                                                     Paul C. Whalen (pro hac vice forthcoming)
25                                                   768 Plandome Road
                                                     Manhasset, NY 11030
26
                                                     Telephone: (516) 426-6870
27                                                   paulwhalen@gmail.com

28
                                                              STIPULATION FOR EXTENSION OF TIME TO
                                                                     FILE CONSOLIDATED COMPLAINT
                                               3                                   (FIRST REQUEST)
     Case
     Case 2:20-cv-00749-GMN-NJK
          2:20-cv-00376-JAD-NJK Document
                                Document 61
                                         28 Filed
                                            Filed 04/29/20
                                                  07/31/20 Page
                                                           Page 44 of
                                                                   of 99



 1                                      GLANCY PRONGAY & MURRAY LLP
                                        Brian P. Murray (pro hac vice forthcoming)
 2                                      230 Park Avenue, Suite 530
                                        New York, NY 10169
 3
                                        Telephone: (212) 682-5340
 4                                      Facsimile: (212) 884-0988
                                        bmurray@glancylaw.com
 5
                                        KRIEGER LAW GROUP, LLC
 6                                      David Krieger
                                        500 N. Rainbow Blvd. Suite 300
 7
                                        Las Vegas, NV 89107
 8                                      Telephone: (702) 848-3855, Ext. 101
                                        dkrieger@kriegerlawgroup.com
 9
                                        Attorneys for Plaintiff John Smallman
10

11                                      TANASI LAW OFFICES
                                        Richard Tanasi
12                                      8716 W. Spanish Ridge Ave. Suite 105
                                        Las Vegas, NV 89148
13                                      Telephone: (702) 906-2411
                                        Facsimile: (866) 299-4274
14                                      rtanasi@tanasilaw.com
15
                                        Attorneys for Plaintiffs John Smallman and
16                                      Katharine Breen, Adam Metz Alain Michael, Carol
                                        O’Connell, Matthew Pruitt, Christopher Pussman,
17                                      and Sabrina Woods
18
                                        THE BOURASSA LAW GROUP
19                                      Mark J. Bourassa (Nevada Bar No. 7999)
                                        Jennifer A. Fornetti (Nevada Bar No. 7644)
20                                      2350 W. Charleston Blvd., #100
                                        Las Vegas, NV 89102
21                                      Telephone: (702) 851-2180
                                        Facsimile: (702) 851-2189
22
                                        mbourassa@blgwins.com
23                                      jfornetti@blgwins.com

24                                      Attorneys for Plaintiffs Jeffrey Scott Cameron and
                                        Paul Brodsky
25
                                        CARLSON LYNCH LLP
26
                                        Gary F. Lynch (pro hac vice)
27                                      Kevin W. Tucker (pro hac vice forthcoming)
                                        Jamisen A. Etzel (pro hac vice forthcoming)
28
                                                 STIPULATION FOR EXTENSION OF TIME TO
                                                        FILE CONSOLIDATED COMPLAINT
                                    4                                 (FIRST REQUEST)
     Case
     Case 2:20-cv-00749-GMN-NJK
          2:20-cv-00376-JAD-NJK Document
                                Document 61
                                         28 Filed
                                            Filed 04/29/20
                                                  07/31/20 Page
                                                           Page 55 of
                                                                   of 99



 1                                      1133 Penn Avenue, Floor 5
                                        Pittsburgh, PA 15222
 2                                      Telephone: (412) 322-9243
                                        Facsimile: (412) 231-0246
 3
                                        glynch@carlsonlynch.com
 4                                      ktucker@carlsonlynch.com
                                        jamisenetzel@carlsonlynch.com
 5
                                        CARLSON LYNCH LLP
 6                                      Todd D. Carpenter (pro hac vice forthcoming)
                                        1350 Columbia St. Ste. 603
 7
                                        San Diego, California 92101
 8                                      Telephone: (619) 762-1900
                                        Facsimile: 619) 756-6991
 9                                      tcarpenter@carlsonlynch.com
10                                      CARLSON LYNCH LLP
11                                      Katrina Carroll (pro hac vice forthcoming)
                                        111 W. Washington Street, Suite 1240
12                                      Chicago, Illinois 60602
                                        Telephone: (312) 750-1265
13                                      Facsimile: (412) 231-0246
                                        kcarroll@carlsonlynch.com
14

15                                      Attorneys for Plaintiff Jeffrey Scott Cameron

16                                      MUEHLBAUER LAW OFFICE, LTD.
                                        Andrew R. Muehlbauer (Nevada Bar No. 10161)
17                                      7915 West Sahara Avenue, Suite 104
                                        Las Vegas, NV 89117
18
                                        Telephone: (702) 330-4505
19                                      andrew@mlolegal.com

20                                      LOWEY DANNENBERG, P.C.
                                        Christian Levis (pro hac vice)
21                                      Henry Kusjanovic (pro hac vice)
                                        Amanda Fiorilla (pro hac vice)
22
                                        44 South Broadway, Suite 1100
23                                      White Plains, NY 10601
                                        Telephone: (914) 997-0500
24                                      clevis@lowey.com
                                        hkusjanovic@lowey.com
25                                      afiorilla@lowey.com
26
                                        LOWEY DANNENBERG, P.C.
27                                      Anthony M. Christina (pro hac vice)
                                        One Tower Bridge
28
                                                 STIPULATION FOR EXTENSION OF TIME TO
                                                        FILE CONSOLIDATED COMPLAINT
                                    5                                 (FIRST REQUEST)
     Case
     Case 2:20-cv-00749-GMN-NJK
          2:20-cv-00376-JAD-NJK Document
                                Document 61
                                         28 Filed
                                            Filed 04/29/20
                                                  07/31/20 Page
                                                           Page 66 of
                                                                   of 99



 1                                      100 Front Street, Suite 520
                                        West Conshohocken, PA
 2                                      Telephone: (215) 399-4770
                                        achristina@lowey.com
 3

 4                                      Attorneys for Plaintiff Kevin V. Horne

 5                                      STULL, STULL & BRODY
                                        Melissa R. Emert (pro hac vice)
 6                                      6 East 45th St. - 5th Fl.
                                        New York, NY 10017
 7
                                        Telephone: (954) 341-5561
 8                                      Facsimile: (954) 341-5531

 9                                      THE GRANT LAW FIRM, PLLC
                                        Lynda J. Grant (pro hac vice forthcoming)
10                                      521 Fifth Avenue, 17th Floor
11                                      New York, NY 10175
                                        Telephone: (212) 292-4441
12                                      Facsimile: (212) 292-4442
                                        lgrant@grantfirm.com
13
                                        Attorneys for Plaintiff Paul Brodsky
14

15                                      WOLF, RIFKIN, SHAPIRO, SCHULMAN &
                                        RABKIN, LLP
16                                      Don Springmeyer (Nevada Bar No. 1021)
                                        3556 E. Russell Road, 2nd Floor
17                                      Las Vegas, NV 89120
                                        Telephone: (702) 341-5200
18
                                        Facsimile: (702) 341-5300
19                                      dspringmeyer@wrslawyers.com

20                                      BERGER MONTAGUE, PC
                                        Michael Dell’Angelo (pro hac vice)
21                                      Jon Lambiras (pro hac vice forthcoming)
                                        Joshua T. Ripley (pro hac vice)
22
                                        1818 Market Street, Suite 3600
23                                      Philadelphia, PA 19103
                                        Telephone: (215) 875-3000
24                                      Facsimile: (215) 875-4604
                                        mdellangelo@bm.net
25                                      jlambiras@bm.net
                                        jripley@bm.net
26

27                                      BERGER MONTAGUE, PC
                                        E. Michelle Drake (pro hac vice)
28
                                                 STIPULATION FOR EXTENSION OF TIME TO
                                                        FILE CONSOLIDATED COMPLAINT
                                    6                                 (FIRST REQUEST)
     Case
     Case 2:20-cv-00749-GMN-NJK
          2:20-cv-00376-JAD-NJK Document
                                Document 61
                                         28 Filed
                                            Filed 04/29/20
                                                  07/31/20 Page
                                                           Page 77 of
                                                                   of 99



 1                                      43 SE Main Street, Suite 505
                                        Minneapolis, MN 55414
 2                                      Telephone: (612) 594-5933
                                        Facsimile: (612) 584-4470
 3
                                        emdrake@bm.net
 4
                                        MCCULLEY MCCLUER PLLC
 5                                      Stuart McCluer (pro hac vice forthcoming)
                                        R. Bryant McCulley (pro hac vice forthcoming)
 6                                      Frank B. Ulmer (pro hac vice)
                                        701 East Bay Street, Suite 411
 7
                                        Charleston, SC 29403
 8                                      Telephone: (843) 444-5404
                                        Facsimile: (843) 444-5408
 9                                      smccluer@mcculleymccluer.com
                                        bmmcculley@mcculleymccluer.com
10                                      fulmer@mcculleymccluer.com
11
                                        Attorneys for Plaintiffs Larry Lawter, Julie Mutsko,
12                                      Kerri Shapiro and Victor Wukovits

13                                      MASON LIETZ & KLINGER LLP
                                        Gary E. Mason (pro hac submitted)
14                                      David K. Lietz (pro hac forthcoming)
15                                      5301 Wisconsin Avenue, NW
                                        Suite 305
16                                      Washington, DC 20016
                                        Telephone: (202) -429-2290
17                                      gmason@masonllp.com
                                        dlietz@masonllp.com
18

19                                      MASON LIETZ & KLINGER LLP
                                        Gary M. Klinger (pro hac vice)
20                                      227 W. Monroe Street, Suite 2100
                                        Chicago, IL 60630
21                                      Telephone: (312) 283-3814
                                        Facsimile: (773) 496-8617
22
                                        gklinger@masonllp.com
23
                                        GOLDENBERG SCHNEIDER L.P.A.
24                                      Jeffrey S. Goldenberg (pro hac vice forthcoming)
                                        Todd B. Naylor (pro hac vice forthcoming)
25                                      One West Fourth Street, 18th Floor
                                        Cincinnati, OH 45202
26
                                        Telephone: (513) 345-8291
27                                      Facsimile: (513) 345-8294
                                        jgoldenberg@gs-legal.com
28
                                                 STIPULATION FOR EXTENSION OF TIME TO
                                                        FILE CONSOLIDATED COMPLAINT
                                    7                                 (FIRST REQUEST)
     Case
     Case 2:20-cv-00749-GMN-NJK
          2:20-cv-00376-JAD-NJK Document
                                Document 61
                                         28 Filed
                                            Filed 04/29/20
                                                  07/31/20 Page
                                                           Page 88 of
                                                                   of 99



 1                                      tnaylor@gs-legal.com

 2                                      LEVIN, SEDRAN & BERMAN, LLP
                                        Charles E. Schaffer (pro hac vice)
 3
                                        510 Walnut Street, Suite 500
 4                                      Philadelphia, PA 19106
                                        Telephone: (215) 592-1500
 5                                      Facsimile: (215) 592-4663
                                        cschaffer@lfsblaw.com
 6
                                        Attorneys for Katharine Breen, Adam Metz Alain
 7
                                        Michael, Carol O’Connell, Matthew Pruitt,
 8                                      Christopher Pussman, and Sabrina Woods

 9                                      EGLET ADAMS
                                        Robert T. Eglet
10                                      Robert M. Adams
11                                      Erica D. Entsminger
                                        400 South Seventh Street, Suite 400
12                                      Las Vegas, NV 89101
                                        Telephone: (702) 450-5400
13                                      Facsimile: (702) 450-5451
                                        eservice@egletlaw.com
14

15                                      GIBBS LAW GROUP LLP
                                        Eric H. Gibbs
16                                      David M. Berger (pro hac vice)
                                        505 14th Street, Suite 1110
17                                      Oakland, California 94612
                                        Telephone: (510) 350-9700
18
                                        Facsimile: (510) 350-9701
19                                      ehg@classlawgroup.com
                                        dmb@classlawgroup.com
20
                                        COHEN MILSTEIN SELLERS & TOLL PLLC
21                                      Andrew N. Friedman (pro hac vice)
                                        Douglas J. McNamara (pro hac vice)
22
                                        Geoffrey A. Graber
23                                      Paul Stephan (pro hac vice)
                                        1100 New York Ave. NW
24                                      East Tower, 5th Floor
                                        Washington, DC 20005
25                                      Telephone: (202) 408-4600
                                        Facsimile: (202) 408-4699
26
                                        afriedman@cohenmilstein.com
27                                      dmcnamara@cohenmilstein.com
                                        ggraber@cohenmilstein.com
28
                                                 STIPULATION FOR EXTENSION OF TIME TO
                                                        FILE CONSOLIDATED COMPLAINT
                                    8                                 (FIRST REQUEST)
     Case
     Case 2:20-cv-00749-GMN-NJK
          2:20-cv-00376-JAD-NJK Document
                                Document 61
                                         28 Filed
                                            Filed 04/29/20
                                                  07/31/20 Page
                                                           Page 99 of
                                                                   of 99



 1                                              pstephan@cohenmilstein.com

 2                                              LOCKRIDGE GRINDAL NAUEN P.L.L.P.
                                                Karen Hanson Riebel (pro hac vice forthcoming)
 3
                                                Kate M. Baxter-Kauf (pro hac vice forthcoming)
 4                                              100 Washington Ave. S., Suite 2200
                                                Minneapolis, MN 55401
 5                                              Telephone: (612) 339-6900
                                                Facsimile: (612) 339-0981
 6                                              khriebel@locklaw.com
                                                kmbaxter-kauf@locklaw.com
 7

 8                                              Attorneys for Delores Scott and Ryan Bohlim

 9
                                               ORDER
10

11      Based on the Parties’ stipulations and good cause appearing,

12                            IT IS SO ORDERED:

13                            ________________________________________
                              United States District Judge
14
                              Dated: _______________
15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                         STIPULATION FOR EXTENSION OF TIME TO
                                                                FILE CONSOLIDATED COMPLAINT
                                           9                                  (FIRST REQUEST)
